      Case 2:19-cv-14666-SM-JVM Document 136 Filed 04/05/20 Page 1 of 2



                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA



E. N. BISSO & SON, INC.                                       * CIVIL ACTION

VERUS                                                         * NO. 19-cv-14666

M/V DONNA J. BOUCHARD, her tackle,                            * SECTION “E” (1)
Furniture, apparel, appurtenances, etc. in
rem, and the Barge B. NO. 272, her tackle,                    * JUDGE MORGAN
Furniture, apparel, appurtenances, etc. in
rem and BOUCHARD TRANSPORTATION                               * MAG VAN MEERVELD
CO., INC. in personam

*      *       *       *       *      *       *       *       *

                                   JOINT MOTION TO DISMISS
    NOW INTO COURT, through undersigned counsel, come Intervenors, Crescent Towing &

Salvage Co., Inc. and Cooper/T. Smith Mooring Co., Inc., and Defendants, Tug Donna J.

Bouchard Corp., B. No. 272 Corp., and Bouchard Transportation Co., Inc., and upon

representing that the above parties have agreed to a full and final settlement of all of Crescent

Towing & Salvage Co., Inc.’s and Cooper/T. Smith Mooring Co., Inc.’s claims and causes of

action at issue in this matter and, specifically, Crescent Towing & Salvage Co., Inc.’s and

Cooper/T. Smith Mooring Co., Inc.’s, Rule C claims, Rule B claims and all other claims that

were the basis for Crescent Towing & Salvage Co., Inc.’s and Cooper/T. Smith Mooring Co.,

Inc.’s arrest of the Barge B. No. 272, in rem, and attachment of the M/V DONNA J.

BOUCHARD and Barge B. No. 272, to jointly move this Honorable Court to dismiss all of

Crescent Towing & Salvage Co., Inc.’s and Cooper/T. Smith Mooring Co., Inc.’s, claims and

causes of action asserted in their Interventions in the present proceeding, with prejudice, each

party to bear its own costs and, further, to vacate and dismiss the warrant of arrest of the Barge
       Case 2:19-cv-14666-SM-JVM Document 136 Filed 04/05/20 Page 2 of 2



B. No.272, in rem, and the writs of attachment of the M/V DONNA J. BOUCHARD and Barge

B. No. 272, issued at Crescent Towing & Salvage Co., Inc.’s and Cooper/T. Smith Mooring Co.,

Inc.’s, request in this proceeding.

                                          Respectfully submitted,

                                          Salley Hite Mercer & Resor, LLC

                                          /s/David M. Flotte
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                                          Kevin M. Frey (#35133)
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                                          New Orleans, LA 70130
                                          Telephone: (504) 566-8800
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                                                 kfrey@shmrlaw.com
                                          Attorneys for Crescent Towing
                                          & Salvage Co., Inc.’s and
                                          Cooper/T. Smith Mooring Co.,
                                          Inc..

                                          And

                                          MURPHY, ROGERS, SLOSS,
                                           GAMBEL & TOMPKINS

                                          /s/ Robert H. Murphy
                                          _____________________________
                                          Robert H. Murphy (#9850)
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                                          Attorneys for Tug DONNA J. BOUCHARD Corp. as
                                          owner of the M/V DONNA J. BOUCHARD, in rem,
                                           B. No. 272 Corp., as owner of the Barge B. N
                                          272, in rem, and Bouchard Transportation Co., Inc.
       4840-4223-9417, v. 1
